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                     Exhibit D

             Compliance Addendum
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                               UNITED STATES DISTRICT COURT
                                         FOR THE
                                   DISTRICT OF VERMONT

                                               )
UNITED STATES OF AMERICA                       )
                                               )       Docket No. "?... ~ -Z. O - C ~,,. \ \
V.                                             )
                                               )
PRACTICE FUSION, INC.,                         )
                                               )
          Defendant.                           )



                                      Compliance Addendum

          1.      Practice Fusion, Inc. ("Practice Fusion") shall maintain and implement a Sponsored

Clinical Decision Support Compliance Program to apply to any Sponsored Clinical Decision

Support ("Sponsored CDS") to be designed or implemented (i) in the Practice Fusion electronic

health record ("EHR") or (ii) by former Practice Fusion employees currently employed by a

Practice Fusion affiliate. The Sponsored CDS Compliance Program shall meet the requirements

set forth in this Compliance Addendum.

          2.      Effective Date and Term. The effective date of the Compliance Addendum shall

be the date upon which the Deferred Prosecution Agreement (the "Agreement") is executed by the

United States Attorney's Office for the District of Vermont (the "Office") and Practice Fusion (the

"Effective Date"). The obligations contained in this Compliance Addendum shall remain in full

force and effect for a period of three (3) years from the Effective Date, unless otherwise specified

herein.

          3.      Scope. Practice Fusion acknowledges and agrees that the obligations undertaken

in this Compliance Addendum do not fulfill the totality of Practice Fusion's obligations to maintain

effective controls against potential violations of the Anti-Kickback Statute, 42 U.S.C. § 1320a-7b
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(the "AKS"), to ensure compliance with Clinical Quality Measures ("CQM"), and ensure

regulatory standards regarding its product compliance with CDS requirements.

       4.      Definitions. The below terms shall be defined as follows for purposes of this

Compliance Addendum. Capitalized terms not defined herein shall have the meaning set forth in

the Agreement.

               a.       "Clinical Decision Support" or "CDS" means an EHR technology that

provides clinicians, staff, patients or other individuals with information relating to treatment for

purposes of enhancing health and health care and includes tools such as computerized alerts and

reminders to care providers and patients; clinical guidelines; condition-specific order sets; focused

patient data reports and summaries; documentation templates; diagnostic support, and contextually

relevant reference information, among other tools.

               b.       "Clinical Quality Measure" means a mechanism for assessing and tracking

the quality of health care provided, including observations, treatment, processes, experience,

and/or outcomes of patient care. CQMs assess the degree to which a provider competently and

safely delivers clinical services that are appropriate for the patient in an optimal timeframe and are

required as part of meaningful use requirements for the Medicare and Medicaid Electronic Health

Record Incentive Programs and reporting requirements under the Medicare Access and CHIP

Reauthorization Act of2015 Merit-Based Incentive Payment System program.

               c.       "Covered Activities" means promoting, marketing, selling, designing,

implementing, maintaining, and/or reporting on Sponsored CDS programs. Such activities shall

not be interpreted to include the activities of coders or other personnel who are responsible for

general Practice Fusion EHR implementation, support, and software maintenance.




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                d.     "Guideline" means any clinical practice guideline developed by third-party

organizations to guide decisions regarding diagnosis, management, and treatment for specific

clinical circumstances and include, but are not limited to, guidelines published in medical journals

and articles addressing appropriate treatment and medical standards of care.

                e.      "Practice Fusion" means Practice Fusion, Inc., any subsidiary of Practice

Fusion, and any successor in interest to Practice Fusion.

                f.      "Sponsor" means an organization that provides, or proposes to provide,

funding to sponsor a CDS and may include, but is not limited to, a pharmaceutical company, trade

association or foundation, or other agents or representatives of any pharmaceutical or life sciences

company.

                g.      "Sponsored Clinical Decision Support" or "Sponsored CDS" means CDS

functionality that is funded, or proposed to be funded, by a Sponsor.

       5.       Compliance Program Procedures. Within ninety (90)·days of the Effective Date,

Practice Fusion shall implement Sponsored CDS Compliance Program procedures and systems to

review all current or future Sponsored CDSs (including any CDSs removed that are being re-

introduced) on the Practice Fusion EHR for purposes of detecting and reporting any deviation from

any CQM and/or Guideline on which the Sponsored CDS program relied.

       6.       Clinical Review. Practice Fusion shall review and enhance its methodology for

reviewing and approving Sponsored CDS programs to ensure they are medically appropriate and

not influenced or directed by its sponsors' commercial interests (i.e. "commercially neutral").

Practice Fusion shall establish rigorous review protocols for any and all Sponsored CDSs to ensure

the medical appropriateness of any Sponsored CDS. Such medical review of any Sponsored CDS




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will include consultation with medical professionals with expertise in the area of medicine relating

to the Sponsored CDS at issue.

       7.       Diligence Review. Practice Fusion shall not go-live with any Sponsored CDS

without conducting a thorough and diligent review to determine whether the CDS is clinically

appropriate, commercially neutral, and consistent with any applicable CQM and/or Guideline. All

Sponsored CDS must receive written approval by the Practice Fusion Compliance Officer before

launch. This review shall include, but not be limited to, confirming that Practice Fusion took

reasonable steps to ensure that Sponsors' sales, marketing, or brand personnel were not involved,

directly or indirectly, in designing, creating, or financing the CDS. Practice Fusion's compliance

personnel trained in CDSs shall create documentation sufficiently specific to show the basis for

their determination as to whether the Sponsored CDS is medically appropriate, commercially

neutral, and consistent with any applicable CQM and/or Guideline, and shall maintain such

documentation throughout the term of this Compliance Addendum (and for such longer period as

may be required by other applicable law, regulation or guideline). Any proposed Sponsored CDS

that does not satisfy the aforementioned criteria shall not be implemented and shall be reported by

the Practice Fusion Compliance Officer to the Oversight Organization, with copy to the Office,

together with an explanation of how the proposed Sponsored CDS is inconsistent with this

Compliance Addendum, the AKS, a CQM, CDS requirements, and/or Guidelines, or if the

proposed Sponsored CDS did not proceed for any other reason.

        8.      Oversight Organization Review. In addition, prior to implementing any proposed

Sponsored CDS, Practice Fusion will notify the Oversight Organization retained in connection

with the Agreement in writing and provide an appropriate period of time for the Oversight

Organization to review the proposed Sponsored CDS, but no more than sixty (60) calendar days



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for such review, unless there is adequate justification for any delay in review. Should a dispute

arise as to whether delay beyond 60 days is justified arise the Office shall, in its sole discretion,

make such determination.        The Oversight Organization shall be promptly provided all

documentation relating to the above reviews, ready access to any employees, a walk-through of

the proposed Sponsored CDS workflow, and any other documentation or information necessary

for it to perform its review. Upon completion of its review, the Oversight Organization shall

provide its approval or disapproval of the proposed Sponsored CDS to Practice Fusion in writing.

If the Oversight Organization disapproves of a proposed Sponsored CDS, it shall provide the basis

for such disapproval, and Practice Fusion shall have an opportunity to cure any deficiencies noted.

Any disputes between Practice Fusion and the Oversight Organization regarding the amount of

time needed to allow the Oversight Organization to conduct its review, or the substance of the

Oversight Organization's determinations, shall be adjudged by the Office.

       9.      Chief Clinical Officer Review.         Practice Fusion's Chief Clinical Officer shall

review and ensure that any portions of an applicable Guideline that are not incorporated into a

Sponsored CDS will not adversely impact patient safety or health and shall document any decision,

including the rationale for such decision, to omit any portion of an applicable Guideline and shall

maintain such documentation for the term of this Compliance Addendum.

        10.    Chief Compliance Officer Review. Practice Fusion's Chief Compliance Officer

shall review all Sponsored CDSs prior to launch and confirm in writing that any Sponsored CDS

was subject to appropriate Oversight Organization review, Clinical Review as described above in

Paragraph 6, and not in violation of any provision of this Compliance Addendum or the Anti-

Kickback Statute, 42 U.S.C. § 1320a-7(b).




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         11.   Sponsor Involvement. Practice Fusion shall prohibit any involvement, directly or

indirectly, by a Sponsor in the design, workflow, alert language, alert triggers, Guideline, or CQM

related to a Sponsored CDS. Practice Fusion shall permit the Sponsor to conduct its clinical,

regulatory, and legal review to ensure compliance with applicable standards, including but not

limited to ensuring consistency with the product's label or to promote patient safety based on

consultation with the Sponsor's medical personnel.

         12.   COM and Guideline Review.             Practice Fusion shall review all CQMs and

Guidelines relating to any Sponsored CDS annually to ensure that the CDS is consistent with

current Guidelines and CQMs and not based on outdated medical standards.

         13.   No ROI. Practice Fusion shall prohibit any Sponsored CDS from being marketed

or sold based on any anticipated return on investment or increase in sales of a Sponsor's drug or

class of drugs, and shall prohibit Sponsors by contract from funding any Sponsored CDSs on this

basis.   Practice Fusion shall additionally not accept any success or contingent payments in

connection with Sponsored CDSs.

         14.   Practice Fusion shall not knowingly, or with reckless disregard, accept

remuneration, including but not limited to sponsorship money, in connection with any Sponsored

CDS from any Sponsors' sales, marketing, or brand budget, and/or knowingly, or with reckless

disregard, permit any Sponsors' sales, marketing or brand personnel to have any input or influence

on the design or implementation of any Sponsored CDS.

         15.   Practice Fusion shall not knowingly, or with reckless disregard, accept, and take

reasonable measures to prevent, any Sponsor from providing funding, directly or indirectly, from

its sales, marketing, or brand budget. Practice Fusion shall also take reasonable measures to

request that Sponsor identify the source of funds used to fund a Sponsored CDS.



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        16.      Practice Fusion shall take reasonable measures to prevent personnel from a

Sponsor's sales departments, marketing departments, or brands from attending or participating,

directly or indirectly, in any meeting, teleconference, videoconference, etc., and shall take

reasonable measures to notify any potential Sponsor in advance of this practice. Practice Fusion

shall inquire in advance whether any representatives from such departments are attending and/or

participating and shall not go forward with any such meeting, teleconference, videoconference,

etc. if any such representative is attending and/or participating or if a potential Sponsor refuses to

identify the attendees.

        17.      Sponsor Contractual Confirmations. Prior to implementing any Sponsored CDS,

Practice Fusion shall ensure that the relevant contract with the Sponsor includes the following

representations and warranties from the Sponsor:

              a. any remuneration provided to Practice Fusion was not sourced, directly or

                 indirectly, from any sales, marketing or brand budgets;

              b. sales, marketing, or brand personnel were not directly or indirectly involved in any

                 decision to implement or sponsor the Sponsored CDS;

              c. sales, marketing, or brand personnel were not directly or indirectly involved in any

                 design decisions relating to the Sponsored CDS; and

              d. the Sponsor is without knowledge or reason to believe that the Sponsored CDS is

                 in any way inconsistent in any respect with the AKS, any CQM, and/or Guideline.

        18.      Randomized Monitoring.         Practice Fusion shall implement a randomized

monitoring program to ensure its personnel are not in violation of this Compliance Addendum or

the Anti-Kickback Statute, including but not limited to, review of written communications in

which Practice Fusion employees are engaged in Covered Activities. Such monitoring shall be



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conducted by a representative from Practice Fusion's Compliance department and shall include

random surveillance of Covered Activities to ensure that Sponsored CDS programs are not being

promoted or utilized in any manner inconsistent with this Compliance Addendum or otherwise

potentially violate the Anti-Kickback Statute. Practice Fusion's Compliance department shall log

all of its monitoring activities and provide such documentation to the Oversight Organization and

the Office on request. The Compliance department shall additionally be notified of any potential

violations of the Compliance Addendum or Anti-Kickback Statute, and the Compliance

department shall disclose potential violations to the Oversight Organization, with copy to the

Office.

          19.   Policies. Practice Fusion shall ensure that all policies and procedures relating to its

Sponsored CDS Compliance Program are disseminated internally to all relevant employees.

          20.   Training. Practice Fusion shall conduct annual Anti-Kickback Statute training for

all employees involved in Covered Activities and each employee shall certify in writing to

completion of that training. Practice Fusion shall also conduct Anti-Kickback Statute training for

all new employees that are to be involved in Covered Activities. Such trainings shall include a

discussion of how the Anti-Kickback Statute specifically relates to the Covered Activities and

examples of how Covered Activities could implicate and/or violate the Anti-Kickback Statute. In

addition, the training shall include a discussion of the criminal, civil, and administrative sanctions

that could be imposed on Practice Fusion and/or Practice Fusion employees for violating the Anti-

Kickback Statute.

          21.   Initial Report. Practice Fusion shall submit periodic reports to the Office and the

Oversight Organization. Practice Fusion shall submit its first report within 120 days of the

Effective Date ("Initial Report"). The Initial Report shall include the following:



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               a.      The name and title of all Practice Fusion compliance personnel, as well as

any third-party consultants used by Practice Fusion to implement the Sponsored CDS Compliance

Program.

               b.      A description of the Sponsored CDS Compliance Program systems and

procedures implemented by Practice Fusion pursuant to Paragraph 5 of this Compliance

Addendum.

               c.      A description of Practice Fusion's methodology for rev1ewmg and

approving Sponsored CDS programs to ensure they are medically appropriate and not influenced

or directed by the commercial interests of the sponsor, as required by Paragraph 6 of this

Compliance Addendum.

               d.      A description of the steps taken by Practice Fusion to determine whether a

Sponsored CDS is medically appropriate, commercially neutral, and consistent with any applicable

CQM and/or Guideline, and any reports of noncompliance made to the Practice Fusion

Compliance Officer and the Oversight Organization, pursuant to Paragraph 7 of this Compliance

Addendum.

               e.      A description of the systems, policies, and procedures used by Practice

Fusion to implement the requirements of Paragraphs 8-16 of this Compliance Addendum.

       22.     Update Reports. After submitting the Initial Report, Practice Fusion shall thereafter

provide an update report ("Update Report") every year (a "Reporting Period"). The Update

Reports shall be submitted on or before the last day of each Reporting Period. Each Update Report

shall include the following:

               a.      Any updates to the information provided in the Initial Report.




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               b.      Copies of any contractual confirmations from Sponsors obtained by

Practice Fusion from the proposed Sponsor of any Sponsored CDS, pursuant to Paragraph 17 of

this Compliance Addendum.

               c.      A summary of the results of the monitoring program described in Paragraph

~   of this Compliance Addendum. A copy of the Covered Activities log and the log of monitoring

activities shall be provided upon request.

               d.      A description of any and all training provided pursuant to Paragraph 20 of

this Compliance Addendum.

               e.      Notice if any Practice Fusion employee has prepared a report that reflects

the impact of any Sponsored CDS alert on the sales of the Sponsor's products, including a

projected difference in prescribing a Sponsor's product in a test group as compared to a control

group.

               f.      A list of all proposed Sponsored CDSs, including identification of the

potential Sponsors, that were rejected by the Practice Fusion Clinical Officer, Compliance

department, and/or the Oversight Organization and the basis for such rejection.




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       Dated at Burlington, in the District of Vermont, this ~~ay of January, 2020.


                                                          UNITED STATES OF AMERICA

                                                          CHRISTINA E. NOLAN
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